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                                 United States District Court
                                  Western District of Texas
                                      Austin Division

United States of America,
       Plaintiff,

       v.                                               Case No. 1:22-CR-00187(1)-RP

Steve Ray Shickles, Jr.,
       Defendant,

and

Coinbase, Inc.,
      Garnishee.

                                Order Unsealing Documents

       The United States of America has moved to unseal previously filed documents. The Court

finds that there is no longer a need to seal documents because the garnishee has been noticed

with the writ. The Court therefore grants the motion and orders that previously sealed documents

filed in the garnishment proceeding be unsealed:

              •       Motion to Seal Documents;
              •       Order Sealing Documents;
              •       Notice of Appearance;
              •       Application for Writ of Garnishment;
              •       Order for Issuance of Writ of Garnishment;
              •       Writ of Garnishment;
              •       Clerk’s Notice of Post-Judgment Garnishment; and
              •       Any other document filed under seal in this garnishment proceeding.

       IT IS SO ORDERED.



DATED: ___________________
                                           ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE
